                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION


UNITED STATES OF AMERICA                           :
                                                   :
                v.                                 :     CRIMINAL NO. 5:22-CR-37-M-1
                                                   :
ERIC DESHAWN ROACH                                 :

                            APPLICATION FOR WRIT OF HABEAS CORPUS

       The undersigned Assistant United States Attorney hereby applies to the captioned court for the
issuance of a writ of habeas corpus (X) ad prosequendum ( ) ad testificandum ( ) in re motion pursuant to
28 U.S.C. ' 2255 and avers:

        1. Name of detainee:        ERIC DESHAWN ROACH, #1064425

        2. Detained by:             Lenoir County Jail
                                    Phone no. (252) 559-6100; Fax no. (252) 527-5022

        3. Detainee has been indicted in this district in violation of 21 U.S.C. § 846.

       4. Appearance is necessary on Monday, July 31, 2023, at 8:00 a.m. (X) in the U.S. District
Court, Wilmington, N.C., OR ( ) before the Federal Grand Jury in this district, for ( ) initial
appearance ( ) detention hearing ( ) arraignment ( ) change of plea ( ) trial ( ) sentencing ( ) in re a motion
pursuant to 28 U.S.C. ' 2255 ( ) the purpose of giving testimony in the captioned proceeding, or
(X) motion hearing.


                                                 _/s/ John Bradford Knott_________
                                                 JOHN BRADFORD KNOTT
                                                 Assistant United States Attorney


                                       WRIT OF HABEAS CORPUS


(X) Ad Prosequendum ( ) Ad Testificandum         ( ) In Re Motion to Vacate

        The instant application is granted and the above-named custodian, as well as the United States
Marshal for this district, his deputies, and other United States Marshals and their deputies, is and are
directed to produce the named detainee, in civilian clothes, on the date, at the time, and in the place
recited above, and thereafter to maintain the said detainee within the jurisdiction of this Court pending
the satisfaction of this writ or the further orders of the Court.


Date:    July 12 , 2023.
                                                         United States Magistrate Judge




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